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                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEVADA
                                 LAS VEGAS, NEVADA

UNITED STATES OF AMERICA,                             )       02:02-CR-00201-LRH (LRL)
                                                      )
                               Plaintiff,             )       MINUTES OF THE COURT
                                                      )
       vs.                                            )       November 23, 2005
                                                      )
KENNETH AKINS,                                        )
                                                      )
                               Defendant.             )
                                                      )

PRESENT:       THE HONORABLE LARRY R. HICKS, U.S. DISTRICT JUDGE

DEPUTY CLERK:           ROSEMARIE MILLER                  REPORTER: NONE APPEARING

COUNSEL FOR PETITIONER(S): NONE APPEARING

COUNSEL FOR RESPONDENT(S): NONE APPEARING

MINUTE ORDER IN CHAMBERS:

        Before the Court is Defendant Kenneth Akin’s Motion to Place on Calendar for Akins’
Referral to Ophthalmologist (Doc. #173). Defendant has failed to cite any authority by which the
Court would have jurisdiction and/or grounds upon which to enter such an order in this action and
the motion will, therefore, be DENIED without prejudice. However, the Court is sympathetic to the
issue raised by Defendant’s motion and will recommend to the United States Marshal’s office that
it do what it can through existing arrangements to provide a pair of glasses which will aid or remedy
Defendant’s vision problem.

                                              LANCE S. WILSON, CLERK



                                              By:             /s/
                                                          Deputy Clerk
